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                                                                                            OrTG> LYNCH                                                             1                           2                   1             2                     j                     1             1
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                                                                                      OT/CXR TO l YNOH                                                            2                        2                   1             1      1:                                    j                 '1
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      ~ KEY TO SHEET 1
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                               eXPO$URE··.                                               GR=·GRACE EMP'                                                          F= FAMILY                              E=: ENvrR,ONMEN"f.'AL

                               $YMPTOMS' .                                                                      . '.                                                                                                               ,   . ..

                                          SOB                                                    1= NONE                                                        ; 2.= MILD                                      3= t!lOD SOS
                                                                                                                                                                                                  ,.
                                                                                                                       ..                                                                                     , STAIRS/HILLS
                                    ,.                                                                                                                                                    ,
               -               PLEURISY,                                                         1·NONE                                                   2=INTERMITTANT                                       3=CONTANT

                                COUGH                                                            1=NONE··                                                 2<:;INTERMITTANT                                     3=CONSTANT'

                                EXAM.                                                "                             :
                                                                                                                                                                                                                                                  , .'
                                                                                                                                                                                                                                              "
      ,   .
                      RESTRICTION                                        '.                 ,1=:NONE·                                                     ' '2=MILD/MOD                                        '3=SgYERE'
                                                                                            ..

                               RALES                                                         1=NONE                                                            2=PRESENT'
                                     .'                        ,.    ,
                                                                              , ,                                                      ,   .                                       . '
                                                                                                                                                                                                                                                         ..
                                RUB                     "                                 , 1=]\JONE'                                                          2=PRESENT
                           "
                                                                    ..                                                                               '.                                                             ..
                     HNASTATUS                                                       1=N,ODI$EASE'                                     '2= PLEURAL PLAQUE(S}'                                     :3=DIFFUSE PLEURAL.
                                                                                        OENIED                                               •ACCEPTEO                                           THICHENING/ACCEPTED ..
                                                                                                                       ,   .
                     XRAYANDCT                                                           ,1'= NORMAL                                   2= PLEURAL PLAQU,E(Sr                                               3= DIFFUSE'
                       READS                                                                                                                   (MM} .                                                    PLEUR;A.L THiCK
                                                                                                                                                          .'
                                                                                                                                                                                                          "
                                                                                                                                                                                                              -(MM)
                                                                                                                                  .,                                                      ..
                        CARD                                                                                                                                                                                                                       "

                     OlAGNOSIS'                                                     1= NO DISEASE                                      2= PI,.E.URAL PLAQUE                                              ."3=DI,FFUSE
                                                                                                                                                                                                        Pl:.Et1RAL THICK ..
                                              '.
                                                                                                                                              ISOLATED'
                                                                                                                                                                                                       OR' MULT PI:.AQU,ES'
                                                                                                                                                                                                                        .
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                                                                                                                                                                                                        :'··.. 3:i:DTFFUSr: .. ' :' _.......... ...... ... -..... .
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          ..                   HNA                                            .' 1;:.NO. DISEASE, .                                    -2=PI.,EURAL PLAQUE
                    . DfA~NOSIS                                                                                                             . ISOLATED                                                  PLEURAL THICK
                                 "
                                          ;                  ..                                                                                ..'                                   ",                OR MULT PLAQUES
              ..                                                                                                                 . ,
                   OXYGEN. USAGE'                                                        1=,NONE.                                      2= NOCTUNAL ONLY                                                 3= CONTNUOUS..
                                                                                                                                                                                                                                                  .,
                      ,DEATH                                                  DATE AND CAUSE
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                              . 4= SEVERE SOB .
                         REST, WALKING. SHORT DIST
                                                                         ..,.


                                     "




                                              ·4=COPO




                                     4,?ASaESTOSIS .'                                          5=ABN CXRI-OTHER ..
                                       ACCEPT~D .                                                 FATI DENIED' .'

                                                 4=FAT"                                         5= INTERSTITIAL                      '6= OTHER' 7= PLEURAL                                       8~ NODULE OR
                                                                                                    ·:OI.SEASE·                                  EFFUSION                                         . CANCER                   .: .
                                                                                                  (fL.O IF APP.L)

                                               4= FAT                                          : 5=' ASBESTOSIS'                       6= OTHER 7= PLEU.RAL :8= NODl1LE OR..
                                                                                                                                                . EFFUSION·     CANCER

. '"J.,." ..   't--:----.4;-"=~F;-;:A-:;::':r -.......;~--f..:.........:.5=-="""iA:"'l:!~$~IB~ES·T:;:;;-o~S<7:(S-::?"'....,'+:
                                                              L..-.                                                                 =~. 0i'RER:~~=*{:;;r:==;_p;[E(Jn=,
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                                                                                                                                                           EF.FUSION          ',·CANCER                                                  --   .' .


                            4= WITH EXERCI~E




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               BUyers Up ,; Congress Watch. Critical Mass. Global Trade Watch' Health Research Group • Litig~tion Group
                                    .                  Joan Clarbrook,President                .



               . Leading Medicaf Experts Fault Arbitrary, Outdated
                         .Medical Criteria in Asbestos BiU' .      .

                     Flawed Standards Will Deny Compensation to Many
                          Legitimate Viqtims of Asbestos Disease

        FourcOfthe country's leading exp.erts in the diagnosis and treatment of asbestos diseases are
        opposingtheined!cal standards that claimants must meet to qualitY for coverage tinder the $140
        billiqn trust fund set up by the asbestos bill, S. 852, to compensate individuals injured by
        exposure to the toxic mineral. Tlies~ clinicians and researchers are:                  .

        Michael Harhut, MD, MPH, 1!CCP, Chief ofthe Center for 9c9upational and Environmental
       .Medicine, Co-Director ofthe National Center for Vermiculite and Asbestos-Reiated Cancers at
        the Karmanos Canter Institute and past chair ofthe American College of Chest Physicians. .
        According to Dr. Barbut, who currently treats over 2,000 individuals a year. most of whom
        suffer from asbestos-related diseases. the bill wouldex.c1ude over 40 percent of his patients
        despite the fact that their illnesses are·clearly attributable to asbestos exposure. Dr. Harbut
       contends· that one former iron worker he has·treated for about eight years, and who recently
       required a. double lung transplant, would nothave qualified for relief tinder the 1;>i1l until perhaps
       two years ago, when his condition 'was already so advanced that there was little hope of saving
       hislwigs.·                                                                        ,
           .                        .


      .!.liiiip J. Landrigdn, MD, M~C, DIH, Chair ofthe Department ofCommunity and Preventive
      Medicine at Mount Sinai School or Medicine (the department foun,ded by Dr. Irving J. Selikoff,
      renowned "Father ofAsbestos Research in the United States"), which has been the major .
      provider of diagnostic services to over 12,000 'workers' at the Ground Zero site of the World
      Trade Cente~ destruction. According to Dr. Landrigan, aboard-certified specialist in
      oc;:cupational medicine (among other specialties) arid a member ofthe National Academy of
      Sciences' Institute ofMedicine, tens ofthousands of legitimate lung cancer victims would be
      shut out of the fund by the bill's medical criteria.             .

        Alan. C Whitehoure, MD,FCCP, Senior consulting physician at the Center for Asbe~tos
      . Related Disease in Libby, Montana, and the pulmonary speCialist who first identified asbestos-
        induced disease among W.R. Grace miners and factory workers in Libby. According to Dr.
        Whitehouse, whose patients are largely commuIiity members with no direct occupational
     . exposure but who nevertheless developed asbestos diseases because of the toxic dust deposited

J      by the W.R. Grace mine and factory into the air and soil, the bill's medical criteria. would
       exclude 90 percent of the individuals he treats, knocking them down to the lowest disease
        215 Pennsylvania Ave SE • Washington, DC 20003 • 202-588-1000. www.citiien,org • ~watch@citizen.org EXHIBIT
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              -category, "Levell;"where they are only entitled to x-ray and lung function tests once every
              three years.    -             .               .                   ..-

              L. Christine Oliver, MD, MPH, MS, FACPM, Assistant Clinical Professor ofMedicine at-
              Harvard Medical School and Associate Physician of Pulmonary and Critical Medicine at
              Massachusetts General Hospital. According to Dr. Oliver, who has spent years treating .-
              asbestos victims, thousands of exposed individuals who have demonstrated abnormalities on                                             -,
              chest X-rays and,are therefore at significantly increased risk ofdeveloping caucerwill be - .
              denied vital long-term follow up because ofthe limitations on medical monitoring in the Level
              1 category. These individ~ls may be prevented from discovering they have cancer until it is
            'too late to stall or reverse the progress of the disease.                           -- -

             And that's not all.· The American Thoracic Society has published criteria that disagree
             considerably with the medical criteria mthe bill, although they do not take a position for or
            ,againstthe legislation. TheAmericanPubli~ Health Association, 'a membership organization
            -consisting- 6f Qver 50,000 public heaith professionalsj also disagi:e¢s with the medical criteria
             put forth in the bilI. -   .                          ' .                    .               .

            What is -at Stake -
                                                                             .       . .                                                  .


            The-staggering scale ofthe asbestos epidemic that has already sickened or killed hundreds of
            thousands of-people in the U.S. is underscored by the number potential victims: some 27.5        of
..   ~      million workers exposed to asbestos on the job from 1940-1978, and who in turn contaminated
           their own families; thousands ofresidents of Libby, Montana, where aSbestos-tainted
           vermiculite was mined ap.d manufactured intb.Zonolite insulation for 70 years; hundreds of .
           thousands ofpeople Hying in the ~8 sites nationwide that received 80 percent ofthe
          vermiculite mined in Libby from 1964-1980, and those liviJig inthe remaining 172 sites where
          verm'iculite waS usCd in factory processing; the residents of over 30 million houses in the U.S. .
          that, according to the EPA, still have vermicuiite insulation; the-thousands bfNew Yorkers
         _living and working in proximity to the site ofthe World Trade 'Cenrer'sdestruction. '

          An analysis conducted-in 1982 pr~jecteq. up to 9,700 cancer deaths each year ofworkers .
           occupationally exposUre to asbestos, and an estImated total 500,000 worker-rnortaHties
           between 1967 and 2030. But this did not include sickness and death from non-malignant
          _asbestos diseases, nor the full range ofpotential occupational victims (such as demolition and
         . renovatioIi workers), oi-those exposed to risks after 197~. And, it only covered workers.
           Some 10,000 people died of asbestos-related diseases in 2003 alone; and because of the 20-50
           year latency period between toxic exposure and manifestation of symptoms-and the fact that '
           asbestos was not strictly regulated tintil1986-experts now predict that the peak for both
          malignant and non-malignant foims of aSbestos-related diseases will not be reached until .
          2018. 1 Disease projections vary widely, ranging from 750,000 to 2.6 million future claims of
          sickness and death associated with asbestos? A 2003 Congressional Budget Office estimated
          some 1.7 million claims over the next three decades. 3       .     . .   .                   .


          I Nicholson WJ, Perkel G, Selikoff II. 1982. Occupational eiposure to asbestQs: population cit risk and projected
         mortality -- 1980-2003. Am J Ind Med 3:259-311.
         2 Testimony of Laura S. Welch, lvID, Medical Director, Center to Protect Workers Rights, before··the Senate
         Judiciary Committee, June 2003. .                     ' .                                                 .
         3 Congressional Budget Office Cost Estimate: S. 1125 Fairness in Asbestos Injury Resolution Act, October 2003.

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